Case 20-10023-CSS Doc3 Filed 01/08/20 Page1of8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
BORDEN DAIRY COMPANY, Chapter 11
Debtor. Case No. 20-10010 (CSS)

Tax I.D. No. XX-XXXXXXX

 

In re:
BORDEN DAIRY HOLDINGS, LLC, Chapter 11
Debtor. Case No. 20-10011 (CSS)

Tax I.D. No. XX-XXXXXXX

 

In re:
NATIONAL DAIRY, LLC, Chapter 11
Debtor. Case No. 20-10012 (CSS)

Tax LD. No. XX-XXXXXXX

 

In re:

BORDEN DAIRY COMPANY OF ALABAMA,

LLC, Chapter 11

Debtor. Case No. 20-10013 (CSS)

Tax LD. No. XX-XXXXXXX

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Case 20-10023-CSS Doc3 Filed 01/08/20 Page 2of8

 

In re:

BORDEN DAIRY COMPANY OF CINCINNATI,
LLC,

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re:

BORDEN TRANSPORT COMPANY OF
CINCINNATI, LLC,

Debtor.

Tax LD. No. XX-XXXXXXX

 

In re:

BORDEN DAIRY COMPANY OF FLORIDA,
LLC,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:

BORDEN DAIRY COMPANY OF KENTUCKY,
LLC,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

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Chapter 11

Case No. 20-10014 (CSS)

Chapter 11

Case No. 20-10015 (CSS)

Chapter 11

Case No. 20-10016 (CSS)

Chapter 11

Case No. 20-10017 (CSS)
 

Case 20-10023-CSS Doc3 Filed 01/08/20 Page 3of8

 

In re:

BORDEN DAIRY COMPANY OF LOUISIANA,
LLC,

Debtor.

Tax ID. No. XX-XXXXXXX

 

In re:

BORDEN DAIRY COMPANY OF
MADISONVILLE, LLC,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

In re:
BORDEN DAIRY COMPANY OF OHIO, LLC,
Debtor.

Tax ID. No. XX-XXXXXXX

 

In re:

BORDEN TRANSPORT COMPANY OF OHIO,
LLC,

Debtor.

Tax I.D. No. XX-XXXXXXX

 

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Chapter 11

Case No. 20-10018 (CSS)

Chapter 11

Case No. 20-10019 (CSS)

Chapter 11

Case No. 20-10020 (CSS)

Chapter 11

Case No. 20-10021 (CSS)
 

Case 20-10023-CSS Doc3 Filed 01/08/20 Page 4of8

 

In re:

BORDEN DAIRY COMPANY OF SOUTH

CAROLINA, LLC, Chapter 11

Debtor. Case No. 20-10022 (CSS)

Tax LD. No. XX-XXXXXXX

 

In re:
BORDEN DAIRY COMPANY OF TEXAS, LLC, Chapter 11
Debtor. Case No. 20-10023 (CSS)

Tax ID. No. XX-XXXXXXX

 

In re:

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CLAIMS ADJUSTING SERVICES, LLC, Chapter 11
Debtor. Case No. 20-10024 (CSS)

Tax I.D. No. XX-XXXXXXX

 

In re:

GEORGIA SOFT SERVE DELIGHTS, LLC, Chapter 11

Debtor. Case No. 20-10025 (CSS)

 

In re:
NDH TRANSPORT, LLC, Chapter 11
Debtor. Case No. 20-10026 (CSS)

Tax LD. No. XX-XXXXXXX

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Tax I.D. No. XX-XXXXXXX
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Case 20-10023-CSS Doc3 Filed 01/08/20 Page5of8

 

In re:
Chapter 11
RGC, LLC,
Case No. 20-10027 (CSS)
Debtor.
Ref. Docket No. 2
Tax ID. No. XX-XXXXXXX

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ORDER (1) DIRECTING JOINT ADMINISTRATION OF
CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion”)' of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the
joint administration of the Debtors’ Chapter 11 Cases for procedural purposes only, and
(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day
Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334 and the Amended Standing Order of Reference from the United States District Court for the
District of Delaware, dated February 29, 2012; and this Court having found that it may enter a
final order consistent with Article III of the United States Constitution; and this Court having
found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.
§§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion and
opportunity for a hearing on the Motion were appropriate under the circumstances and no other
notice need be provided; and this Court having reviewed the Motion and having heard the
statements in support of the relief requested therein at a hearing before this Court (the
“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

 

! Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the

Motion.

25816937.2

 
Case 20-10023-CSS Doc3 Filed 01/08/20 Page 6of8

proceedings had before this Court; and after due deliberation and sufficient cause appearing
therefor, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. The above-captioned Chapter 11 Cases are consolidated for procedural purposes
only and shall be jointly administered in accordance with the provisions in Bankruptcy Rule
1015 and Local Rule 1015-1.

3. The caption of the jointly administered cases shall read as follows:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
In re: ) Chapter 11

)
BORDEN DAIRY COMPANY, et al.,! ) Case No. 20-10010 (CSS)

)
Debtors. ) (Gointly Administered)

)

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
federal tax identification number, are: Borden Dairy Company (1509); Borden Dairy
Holdings, LLC (8504); National Dairy, LLC (9109); Borden Dairy Company of
Alabama, LLC (5598); Borden Dairy Company of Cincinnati, LLC (1334); Borden
Transport Company of Cincinnati, LLC (3462); Borden Dairy Company of Florida, LLC
(5168); Borden Dairy Company of Kentucky, LLC (7392); Borden Dairy Company of
Louisiana, LLC (4109); Borden Dairy Company of Madisonville, LLC (7310); Borden
Dairy Company of Ohio, LLC (2720); Borden Transport Company of Ohio, LLC (7837);
Borden Dairy Company of South Carolina, LLC (0963); Borden Dairy Company of
Texas, LLC (5060); Claims Adjusting Services, LLC (9109); Georgia Soft Serve
Delights, LLC (9109); NDH Transport, LLC (7480); and RGC, LLC (0314). The
location of the Debtors’ service address is: 8750 North Central Expressway, Suite 400,
Dallas, TX 75231.

4. The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

25816937.2
Case 20-10023-CSS Doc3 Filed 01/08/20 Page 7 of 8

5. A docket entry, substantially similar to the following, shall be entered on the
docket of each of the Debtors other than Borden Dairy Company to reflect the joint
administration of these Chapter 11 Cases:

An order has been entered in accordance with Rule 1015(b) of the
Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware directing
joint administration for procedural purposes only of the chapter 11
cases of: Borden Dairy Company, Case No. 20-10010 (CSS);
Borden Dairy Holdings, LLC, Case No. 20-10011 (CSS); National
Dairy, LLC, Case No. 20-10012 (CSS); Borden Dairy Company of
Alabama, LLC, Case No. 20-10013 (CSS); Borden Dairy
Company of Cincinnati, LLC, Case No. 20-10014 (CSS); Borden
Transport Company of Cincinnati, LLC, Case No. 20-10015
(CSS); Borden Dairy Company of Florida, LLC, Case No. 20-
10016 (CSS); Borden Dairy Company of Kentucky, LLC, Case
No. 20-10017 (CSS); Borden Dairy Company of Louisiana, LLC,
Case No. 20-10018 (CSS); Borden Dairy Company of
Madisonville, LLC, Case No. 20-10019 (CSS); Borden Dairy
Company of Ohio, LLC, Case No. 20-10020 (CSS); Borden
Transport Company of Ohio, LLC, Case No. 20-10021 (CSS);
Borden Dairy Company of South Carolina, LLC, Case No. 20-
10022 (CSS); Borden Dairy Company of Texas, LLC, Case No.
20-10023 (CSS); Claims Adjusting Services, LLC, Case No. 20-
10024 (CSS); Georgia Soft Serve Delights, LLC, Case No. 20-
10025 (CSS); NDH Transport, LLC, Case No. 20-10026 (CSS);
and RGC, LLC, Case No. 20-10027 (CSS). All further pleadings
and other papers shall be filed, and all further docket entries
shall be made, in Case No. 20-10010 (CSS).

6. The Debtors shail maintain, and the Clerk of this Court shall keep, one
consolidated docket, one file, and one consolidated service list for these Chapter 11 Cases.

7. Nothing contained in the Motion or this Order shall be deemed or construed as
directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases and this
Order shall be without prejudice to the rights of the Debtors to seek entry of an Order

substantively consolidating their respective cases.

25816937.2
Case 20-10023-CSS Doc3 Filed 01/08/20 Page 8 of 8

8. Notice of the Motion as provided therein shall be deemed good and sufficient
notice of such Motion and the Local Rules are satisfied by such notice.

9. The terms and conditions of this Order are immediately effective and enforceable
upon its entry.

10. The Debtors are authorized to take all actions necessary to effectuate the relief
granted in this Order in accordance with the Motion.

11. This Court retains exclusive jurisdiction with respect to all matters arising from
or related to the implementation, interpretation, and enforcement of this Order.

Dated: January 8, 2020 CA\N\_

Wilmington, Delaware The Honorabte Christopher S. Sontchi
Chief United States Bankruptcy Judge

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